Case 2:03-cv-02632-BBD-dkv Document 29 Filed 05/20/05 Page 1 of 3 Page|D 46

lN THE UNITED STA'I`ES DISTRICT COURT FOR THE WESTERN
DISTRICT OF TENNESSEE, WESTERN DIVISION AT MEMPHIS

 

MARY COBURN, Individually and as

 

;5-', 'F='l
the natural mother and next of kin to -1';:,§ '~_'-"'
NICHoLAs CoBURN, deceased and m “”
MAJoR CoBURN, ludividuany ana as "”'°
natural father and next of kin to §§ e?'
NICHOLAS COBURN, deceased, §§ 13

r\) ;';

Plaintiffs, m l
vS. CIVIL ACTION NO. 03-2632 - Donald
JURY DEMANDED
DEBRA M. TRAMMEL and
F`ROSTY TREATS, INC.,
Defendants.

 

CONSENT ORDER OF DISMISSAL WITH PREJUDICE

COME now the parties, by and through Plaintiff’s and Defendant’s attorneys of record,
and announce to the Court that the matters and things in controversy have been compromised
and settled pursuant to the terms of the release and settlement agreement, and that this cause may
be dismissed, with prejudice

lT lS, THEREFORE, BY THE COURT, ORDERED, ADJUDGED AND DECREED

that the above-styled and numbered cause be, and the same hereby is, dismissed with prejudice,

with each party to bear their own costs.

This document entered on the docket sheet in comptiance
With Ru!e 58 and/or 79(&1] FRCP on ' "

Case 2:03-cv-O2632-BBD-dkv Document 29 Filed 05/20/05 Page 2 of 3 Page|D 47

APPROVED FOR EN’I`RY:

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F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:03-CV-02632 was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

